              Case 1:24-cv-00183-DII Document 1 Filed 02/22/24 Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION




          Payvox LLC,                                  Case No. 1:24-cv-00183

                 Plaintiff,                            Patent Case

                 v.                                    Jury Trial Demanded

          Apple Inc.,

                 Defendant.



                                COMPLAINT FOR PATENT INFRINGEMENT

         1.     Plaintiff Payvox LLC (“Plaintiff”), through its attorneys, complains of Apple Inc.

(“Defendant”), and alleges the following:

                                                 PARTIES

         2.     Plaintiff Payvox LLC is a corporation organized and existing under the laws of

New Mexico that maintains its principal place of business at 1209 MOUNTAIN ROAD PL NE,

STE N, Albuquerque, NM 87110.

         3.     Defendant Apple Inc. is a corporation organized and existing under the laws of

Delaware that maintains an established place of business at 6800 W Parmer Ln, Austin, TX

78729.

                                              JURISDICTION

         4.     This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.




                                                  1
             Case 1:24-cv-00183-DII Document 1 Filed 02/22/24 Page 2 of 6




       5.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).

       6.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                    VENUE

       7.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

an established place of business in this District. In addition, Defendant has committed acts of

patent infringement in this District, and Plaintiff has suffered harm in this district.

                                              PATENTS-IN-SUIT

       8.      Plaintiff is the assignee of all right, title and interest in United States Patent Nos.

8788360; and 8788362 (the “Patents-in-Suit”); including all rights to enforce and prosecute

actions for infringement and to collect damages for all relevant times against infringers of the

Patents-in-Suit. Accordingly, Plaintiff possesses the exclusive right and standing to prosecute the

present action for infringement of the Patents-in-Suit by Defendant.

                                           THE ’8788360 PATENT

       9.      The ’8788360 Patent is entitled “SYSTEMS AND METHODS FOR

AUTOMATED MASS MEDIA COMMERCE,” and issued 0014-07-22. The application leading

to the ’8788360 Patent was filed on 0012-11-12. A true and correct copy of the ’8788360 Patent

is attached hereto as Exhibit 1 and incorporated herein by reference.

                                           THE ’8788362 PATENT

       10.     The ’8788362 Patent is entitled “SYSTEMS AND METHODS FOR

AUTOMATED MASS MEDIA COMMERCE,” and issued 0014-07-22. The application leading


                                                   2
             Case 1:24-cv-00183-DII Document 1 Filed 02/22/24 Page 3 of 6




to the ’8788362 Patent was filed on 0013-07-29. A true and correct copy of the ’8788362 Patent

is attached hereto as Exhibit 2 and incorporated herein by reference.

                           COUNT 1: INFRINGEMENT OF THE ’8788360 PATENT

       11.     Plaintiff incorporates the above paragraphs herein by reference.

       12.     Direct Infringement. Defendant directly infringed one or more claims of the

’8788360 Patent in at least this District by making, using, offering to sell, selling and/or

importing, without limitation, at least the Defendant products identified in the charts

incorporated into this Count below (among the “Exemplary Defendant Products”) that infringed

at least the exemplary method claims of the ’8788360 Patent also identified in the charts

incorporated into this Count below (the “Exemplary ’8788360 Patent Claims”) literally or by the

doctrine of equivalents. On information and belief, numerous other devices that infringed the

claims of the ’8788360 Patent have been made, used, sold, imported, and offered for sale by

Defendant and/or its customers.

       13.     Defendant also directly infringed, literally or under the doctrine of equivalents,

the Exemplary ’8788360 Patent Claims, by having its employees internally test and use these

Exemplary Products.

       14.     Exhibit 3 includes charts comparing the Exemplary ’8788360 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’8788360 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’8788360 Patent

Claims.

       15.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 3.


                                                  3
             Case 1:24-cv-00183-DII Document 1 Filed 02/22/24 Page 4 of 6




       16.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                           COUNT 2: INFRINGEMENT OF THE ’8788362 PATENT

       17.      Plaintiff incorporates the above paragraphs herein by reference.

       18.      Direct Infringement. Defendant directly infringed one or more claims of the

’8788362 Patent in at least this District by making, using, offering to sell, selling and/or

importing, without limitation, at least the Defendant products identified in the charts

incorporated into this Count below (among the “Exemplary Defendant Products”) that infringed

at least the exemplary method claims of the ’8788362 Patent also identified in the charts

incorporated into this Count below (the “Exemplary ’8788362 Patent Claims”) literally or by the

doctrine of equivalents. On information and belief, numerous other devices that infringed the

claims of the ’8788362 Patent have been made, used, sold, imported, and offered for sale by

Defendant and/or its customers.

       19.      Defendant also directly infringed, literally or under the doctrine of equivalents,

the Exemplary ’8788362 Patent Claims, by having its employees internally test and use these

Exemplary Products.

       20.      Exhibit 4 includes charts comparing the Exemplary ’8788362 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’8788362 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’8788362 Patent

Claims.

       21.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 4.


                                                  4
              Case 1:24-cv-00183-DII Document 1 Filed 02/22/24 Page 5 of 6




        22.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                 JURY DEMAND

        23.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        A.      A judgment that the ’8788360 Patent is valid and enforceable

        B.      A judgment that Defendant has infringed directly one or more claims of the

                ’8788360 Patent;

        C.      A judgment that the ’8788362 Patent is valid and enforceable

        D.      A judgment that Defendant has infringed directly one or more claims of the

                ’8788362 Patent;

        E.      An accounting of all damages not presented at trial;

        F.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

                for Defendant's past infringement at least with respect to the ’8788360; and

                ’8788362 Patents.

        G.      And, if necessary, to adequately compensate Plaintiff for Defendant's

                infringement, an accounting:

                 i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                      and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                      that it incurs in prosecuting this action;




                                                     5
          Case 1:24-cv-00183-DII Document 1 Filed 02/22/24 Page 6 of 6




             ii.    that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                    this action; and

             iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                    deems just and proper.


Dated: February 22, 2024                     Respectfully submitted,

                                             /s/ Isaac Rabicoff
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